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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 JOHN DOE,                                     )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:20-cv-00123-JRS-DML
                                               )
 INDIANA UNIVERSITY,                           )
 LAUREN ROBEL,                                 )
 KATHY ADAMS-REISTER,                          )
 LIBBY SPOTTS,                                 )
 ROBERT BILLINGHAM,                            )
 MICHAEL COURTNEY, and                         )
 GRANT VOGTMAN,                                )
                                               )
                           Defendants.         )

            Order on Defendants’ Motion for Expedited Discovery

       The plaintiff’s motion for a temporary restraining order is set for hearing on

 February 11, 2020. His motion seeks a “temporary restraining order that enjoins

 IU’s disciplinary procedure, and any sanction arising therefrom, against [him] until

 such time as it remedies the Fourteenth Amendment due process violations

 described” in the plaintiff’s memorandum in support of motion for TRO. See motion,

 Dkt. 1, at p. 2, and supporting memorandum of law, at Dkt. 2, p. 31. The plaintiff

 was summarily suspended from Indiana University in November 2019 and, as the

 plaintiff’s form of proposed order makes clear (and he does not dispute), he is asking

 the court to order Indiana University to reinstate him, allow him to continue his

 studies at IU-Bloomington, and allow him to complete coursework he has missed

 “without penalty or injury.”
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       The defendants (collectively, “Indiana University” or “IU”) have moved for

 expedited discovery and seek an order requiring the plaintiff to produce certain

 documents and appear for a full-day deposition and allowing a deposition of the

 plaintiff’s sister for a half-day. The plaintiff opposes the motion and contends that

 discovery should not be permitted in connection with requests for a TRO and even if

 discovery were appropriate, none of the information sought by IU on an expedited

 basis is relevant to the issues to be addressed at the February 11 hearing. IU

 disagrees.1 Based on the analysis below, the court DENIES IU’s motion for

 expedited discovery.

                                        Analysis

       The court rejects the plaintiff’s threshold argument that discovery is never

 appropriate in advance of a hearing on a request for a temporary restraining order.

 While, given the nature of TROs (the court’s power to issue them without notice to

 the opposing party, their usual aim to maintain a status quo and not require

 mandatory action by the enjoined party, and their short life—a maximum of 28 days

 without consent of the parties),2 discovery generally does not occur before their




 1     The court GRANTS the plaintiff’s motion to file a surreply on the discovery
 motion. The Clerk is directed to docket the surreply at Dkt. 24-1.

 2      See Fed. R. Civ. P. 65(b). A TRO that a court deliberately keeps in force
 longer than the 28-day maximum length allowed under Rule 65(b) is deemed to be a
 preliminary injunction, and appealable as such. H-D Michigan, LLC v. Hellenic
 Duty Free Shops S.A., 694 F.3d 827 (7th Cir. 2012). But if, after entering a TRO, a
 court does not extend it or issue a preliminary injunction in its place, it “expires at
 the close of the 28-day period.” Id.
                                            2
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 issuance, there is no rule that discovery cannot or should not be had in advance of a

 TRO hearing.

       The discovery dispute thus presents the same concerns the court addresses in

 nearly every discovery matter: given the factual and legal matters at issue, is the

 discovery proportional to the needs of the case, considering the discovery’s

 materiality to those issues and whether the burden of providing the discovery

 outweighs its likely benefits. E.g., Rule 26(b)(1); Roche Diagnostics Corp., v.

 Medical Automation Sys., Inc., 2011 WL 130098 (S.D. Ind. Jan. 14, 2011) (“[A]s in

 all cases, deciding whether to permit expedited discovery and the scope of any

 expedited discovery depends on the facts and circumstances of the particular

 matter, and a demonstration why the requested discovery, on an expedited basis, is

 appropriate for the fair adjudication of issues before the court.”) In seeking this

 balance, the court certainly considers the temporal limitations dictated by the

 nature of the proceedings now scheduled.

       The parties have different views about the matters that will be at issue

 during the February 11 TRO hearing. The plaintiff asserts that the only relevant

 issues are “process” issues: the procedural fairness—or not—of his summary

 suspension and the upholding of that suspension by IU after hearing and

 appeal. He contends that a decision about the procedural fairness of his discipline

 can and should be based solely on the available disciplinary record before

 IU, for which no discovery is necessary. In other words, he maintains that

 whether the process he received meets the constitutional standard is determined by



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 examining the process he actually received. IU asserts, on the other hand, that the

 discovery it seeks in advance of the hearing is pertinent to the “process” issue (and

 thus to the likelihood of success on the merits element) because it will support its

 determination during the disciplinary process to uphold suspension in part based on

 inconsistencies between the testimony of the plaintiff and his sister at the hearing.

 The court finds, however, that the likelihood of success on the merits element of the

 TRO request does not turn on whether there is additional information—not

 considered by IU—that bolsters the disciplinary determination it already made.

 The merits issue framed by the plaintiff’s complaint is that the process was unfair,

 and that process was what it was. Expedited discovery is not appropriate at this

 stage on the process issue.

       The far more significant argument IU makes in support of discovery is that

 because the plaintiff is seeking equitable relief, the court must balance harms to

 each side if the relief is denied or is granted and must consider the public interest in

 issuance of the relief. In this regard, IU maintains it is entitled to obtain discovery

 to support arguments that the relief sought by the plaintiff—his reinstatement as a

 student on the Bloomington campus—should not be granted because of the danger

 to the Bloomington campus community of the presence of a person who may have

 sexually assaulted a minor. The plaintiff replies that, outside of reliance on

 information already existing within the disciplinary record, IU is not entitled to

 present evidence about the possibility the plaintiff committed sexual assault

 because it is improper for the court to allow IU to expand the administrative record,



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 especially in an attempt to find new information to try to correct alleged deficiencies

 in its disciplinary proceeding.

       The plaintiff’s argument is inconsistent. He has, by verified complaint, given

 testimony in this case that likely goes beyond the IU administrative record, and he

 likely hopes the court will accept his position for purposes of the TRO hearing and

 the relief he seeks that he is innocent of the sexual assault charge. Yet he otherwise

 wants to preclude IU at this stage from obtaining evidence from him and his sister

 on that issue that it may present for purposes of the court’s weighing of the balance

 of the harms and the public interest in connection with the remedy he seeks.

       Militating against expedited discovery are the limited time to conduct

 discovery before the TRO hearing, the concern that the subject matter of that

 discovery opens the floodgates to discovery as to the plaintiff’s guilt or innocence on

 the charges, and the unacceptable prospect of inserting a quasi-criminal trial into

 the TRO proceeding. Further, the plaintiff’s counsel has stated unequivocally that if

 the court orders the plaintiff to sit for deposition, the plaintiff “would invoke his

 constitutional right not to be a witness against himself.” Dkt. 22 at p. 8.3




 3      The court does not prohibit IU from arguing (and expresses here no opinion
 on the success of the argument) that that stance—the plaintiff’s statement that he
 would refuse under the Fifth Amendment to answer questions under oath about the
 July 4 incident—is a good reason for the court to draw negative inferences against
 the plaintiff about the July 4 incident. See Harris v. City of Chicago, 266 F.3d 750,
 755 (7th Cir. 2001) (adverse inferences can be, though need not be, drawn in a civil
 proceeding when a person invokes his Fifth Amendment privilege in refusing to
 testify about pertinent information).
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       But the plaintiff’s position—that no discovery occur at this point and that the

 only evidence relevant to the propriety of a TRO is the administrative record—

 ultimately proves too much. Though IU will not be permitted to take the expedited

 discovery it seeks, the court does not rule here that IU is prohibited from

 introducing evidence or argument at the TRO hearing that bears on the balance of

 harms and the public interest and which may be outside the IU administrative

 record. The plaintiff will, however, be so constrained. His choice to object to

 discovery at this stage means the plaintiff will not be permitted to rely at the

 hearing on evidence that is outside the IU administrative record.

       The court expresses no view on the appropriate scope of discovery in

 connection with a preliminary injunction hearing if one is scheduled.

                                      Conclusion

       For the foregoing reasons, the defendants’ motion for expedited discovery

 (Dkt. 18) is DENIED

       So ORDERED.


       Dated: January 30, 2020              ____________________________________
                                               Debra McVicker Lynch
                                               United States Magistrate Judge
                                               Southern District of Indiana

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